Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 1 of 19




                  Exhibit A
    2021 01668
    Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 2 of 19
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                                                                                                          CIVIL
   Section 12                                                                                         DISTRICT COURT

          JURY
                         CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                                 STATE OF LOUISIANA

             CASE NO.                                                                    DIVISION "     "

                                                      M.D. DOE

                                                       VERSUS

           ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.; THE ROMAN CATHOLIC
           CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS; THE CATHOLIC MUTUAL
               RELIEF SOCIETY OF AMERICA; CABRINI HIGH SCHOOL, INC.; AND
                           DEACON GEORGE FELDER BRIGNAC


           FILED:
                                                                 DEPUTY CLERK

                                            PETITION FOR DAMAGES

                  NOW INTO COURT, through undersigned counsel, comes M.D. DOE (hereinafter

           "DOE"), a person of the full age of majority and domiciled in the Parish of St. Charles, who

           respectfully represents as follows:

                                                            1.

                  The following parties are made Defendants in this lawsuit and are liable to Petitioner for

           damages, together with legal interest from the date of judicial demand until paid:

                      a. ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. (hereinafter
                         "INDEMNITY"), a Louisiana corporation domiciled in the Parish of Orleans.

                      b. THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW
                         ORLEANS (hereinafter "ARCHDIOCESE"), an non profit association with its
                         principal place of business in the Parish of Orleans;

                      c. THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA (hereinafter
                         "CATHOLIC MUTUAL"), a foreign non-profit insurance corporation with its
                         principal business establishment in the State of Nebraska, and doing business in
                         the Parish of Orleans, State of Louisiana;

                      d. CABRINI HIGH SCHOOL, INC. (hereinafter "CABRINP'), a Louisiana
                         Non-Profit Corporation with its principal place of business in the Parish of
                         Orleans; and

                      e. THE ESTATE OF DEACON GEORGE FELDER BRIGNAC (hereinafter
                         "DEACON"), formerly a resident of the Parish of Jefferson.

                                                            2.

                  At all times relevant, DEACON was acting in his capacity as a Deacon of the Catholic

           church, serving at CABRINI, and operating under the authority, supervision, and direction of the

           ARCHDIOCESE.


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 Section 12                                                                                  DISTRICT COURT

                                                         3.

                 At all times relevant, Defendant, CABRINI, employed and/or had direct supervision over

          DEACON.

                                                         4.

                 At all times relevant, Defendant, ARCHDIOCESE, had supervisory powers and/or

          authority over DEACON's activities and/or placement of employment at CABRINI.

                                                         5.

                 In or around September of 1984, DOE was a sophomore student at CABRINI in New

          Orleans, Louisiana.

                                                         6.

                 DEACON was a teacher at CABRINI daring that time after being demoted through the

          ranks of the ARCHDIOCESE for incidents that began as early as 1977 and potentially earlier

          while working with The Christian Brothers.

                                                         7.

                 Because DOE was a student and DEACON was a teacher, DOE interacted with

          DEACON on a consistent basis.

                                                         8.

                 Shortly after the start of DOE's sophomore year at CABRINI, DOE missed a day of

          school and had to retake a geometry test.

                                                         9.

                 DEACON, DOE's geometry teacher, scheduled the retake to take place after the regular

          school day.

                                                         10.

                 DOE was alone with DEACON after school to take DOE's geometry test. Shortly

          thereafter, DEACON approached DOE, began rubbing DOE's shoulders, arms, and neck and

          began breathing heavily, licking his lips, and groping DOE's breasts (hereinafter "INCIDENT").

                                                         11.

                 DOE got out of her chair and fled the room. DOE did not complete the geometry test.




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   Section 12                                                                                      DISTRICT COURT



                                                         12.

                 Later, DOE found out she received a "B" on her geometry test even though she had

          hardly gotten through the test when the INCIDENT occurred.

                                                         13.

                 Shortly after the INCIDENT, DOE began skipping classes to avoid any interaction with

          DF.ACON, using recreational drugs, became sexually promiscuous, and suffered general feelings

          of shame. DOE's anxiety and depression increased and DOE's personal relationships were

          negatively impacted. Later that year, she was asked to leave CABRINI. DOE then bounced

          around other schools before eventually getting a GED.

                                                         14.

                 Defendants are liable to Petitioner jointly, severally or in solido for the actions of

          DEACON, including but not limited to, the following negligent acts of omission and/or

          commission, that may be shown during the trial hereof and all in violation of Louisiana Civil

          Code articles 2315 and 2316, as follows:

                    a. Failing to protect Petitioner from harm;

                    b. Failing to have sufficient policies and/or procedures in place to prevent the abuse
                       of minors by their agents and/or employees on their premises;

                    c. Failing to warn Petitioner and Petitioner's family of the risk of sexual abuse by
                       DEACON;

                    d. Failing to remove DEACON from service after knowing of multiple complaints
                       and/or other incidents of sexual abuse/trauma to children;

                    e. Negligently exposing minors to unreasonably dangerous conditions and/or
                       situations, including the sexual abuse of a minor at the hands of one of their
                       agents/employees;

                    f. Failing to properly screen DEACON prior to his appointment to serve with
                       minors;

                        Failing to discharge DEACON and/or relieve DEACON of his position and
                        authority when they knew or should have known of his propensity for sexual
                        abuse of minors; and

                     h. Failing to prohibit DEACON from all Catholic Church and school events; and

                     i. Failing to train and/or supervise their employees to identify possible signs of
                        sexual abuse and/or molestation by other employees.

                                                         15.

                 Defendants had prior knowledge of the risk posed by allowing DEACON around minors

          as well as the potential danger DEACON posed to minors, which should act to establish a higher

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    Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 5 of 19
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   Section 12                                                                                         DISTRICT COURT



          duty of care and protection to DOE. By allowing DEACON to teach minors on a daily basis,

          Defendants violated their duties to DOE and other minors in the community.

                                                            16.

                  By allowing DEACON to continue working in a position of authority over minors and

          with the knowledge of DEACON's prior misconduct with minors, Defendants are liable to

          Petitioner for intentional infliction of emotional distress because Defendants knew or should

          have known that DEACON's continued authority over minors could certainly result in ongoing

          misconduct.

                                                            17.

                  By failing to inform the public, and specifically every parent/guardian of a minor child at

          CABRINI of DEACON's prior misconduct, Defendants fraudulently concealed that information

          and are responsible for the resulting damage caused by their fraudulent concealment.

                                                            18.

                  Defendants, ARCHDIOCESE and CABRINI are vicariously liable to Petitioner under

          Louisiana Civil Code ankles 2315, 2317 and 2320 and/or under the doctrine of Respondeat

          Superior, for the acts and omissions of their employees such as DEACON, who was under the

          direct supervision, control, and direction of Defendants at all material times referenced herein.

                                                            19.

                  The unwanted actions by DEACON referenced in the above INCIDENT should be

          considered acts of Assault and Battery. Thus, DEACON is liable to DOE for the related

          intentional torts.

                                                           20.

                  As a direct and proximate result of the above referenced INCIDENT, DOE is entitled to

          compensation from all Defendants for the following damages to be shown at trial:

                      a. Mental and emotional pain and suffering;

                      b. Mental and emotional humiliation;

                      c. Mental and emotional anger;

                      d. Psychological damage and/or impairment;

                      e. Diminished quality of life; and

                      f. Loss of enjoyment of life.


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 Section 12                                                                                            DISTRICT COURT



                                                            21.

                 At all times relevant, Defendant, INDEMNITY, had in full force and effect a policy of

          insurance affording coverage for the acts complained of herein, or, in the alternative, acts as the

          insurer of ARCHDIOCESE or the self insurer of the ARCHDIOCESE for the acts complained of

          herein. This action is being brought against INDEMNITY under the Louisiana Direct Action

          Statute (La. R.S. 22:1269).

                                                            22.

                 At all times relevant, Defendant, CATHOLIC MUTUAL, had full force and effect a

          policy of insurance affording coverage for the acts complained of herein, or, in the alternative,

          acts as the insurer of ARCHDIOCESE or the self insurer of the ARCHDIOCESE for the acts

          complained of herein. This action is being brought against CATHOLIC MUTUAL under the

          Louisiana Direct Action Statute (La. R.S. 22:1269).

                                                            23.

                 DOE is entitled to and prays for a trial by jury as to all claims asserted herein.

                 WHEREFORE, Petitioner, M.D. DOE prays that Defendants, THE ROMAN CATHOLIC

          CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS, ARCHDIOCESE OF NEW

          ORLEANS INDEMNITY, INC., THE CATHOLIC MUTUAL RELIEF SOCIETY OF

          AMERICA, CABRINI HIGH SCHOOL, INC., and THE ESTATE OF DEACON GEORGE

          FELDER BRIGNAC, be cited and served with this Petition for Damages and that after due

          proceedings are had that there be judgment herein in favor of Petitioner and against Defendants

          in an amount that will fully compensate Petitioner for mental and emotional pain and suffering,

          humiliation, anger, psychological damage and/or impairment, diminished quality of life, loss of

          enjoyment of life, together with legal interest from the date of judicial demand until paid, all

          costs of these proceedings, and for all general and equitable relief as may be determined by the

          Judge and jury.




                                        [signature block on following page!




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  Section 12                                                                       DISTRICT COURT




                                                    Respectfully submitted:

                                                    JEFF     EEN     G c L LLC


                                                     'F"         G►' N (Bar No. 30531)
                                                    JAMES E. COURTENAY (Bar No. 31681)
                                                    3914 Canal Street
                                                    New Orleans, LA 70119
                                                    Telephone: (504) 513-8820
                                                    Facsimile: (504) 513-8824
                                                    E-mail:jgreenkjeffgreenlegal.com
                                                          jimmy(f.:kourtlawfinn.com
                                                    Counselfor Petitioner



          PLEASE SERVE:

          THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS
          Through its registered agent:
          Jeffrey J. Entwisle
          7887 Walmslcy Ave.
          New Orleans, LA 70125

          THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA
          Through its Agent for Service of Process:
          Corporation Service Company
          501 Louisiana Avenue
          Baton Rouge, LA 70802

          THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
          Through its agent for service of process:
          Louisiana Secretary of State
          8585 Archives Ave.
          Baton Rouge, LA 70809

          THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
          (via the Louisiana Long Arm Statute La. R.S. 13:3201)
          Through its agent for service of process:
          Artex Risk Solutions, Inc.
          140 Kennedy Dr., Suite 101
          South Burlington, Vermont 05403

          CABRINI HIGH SCHOOL, INC
          Through its registered agent:
          Jack Truxillo
          1400 Moss St.
          New Orleans, LA 70119

          THE ESTATE, TRUSTEE and/or REPRESENTATIVE FOR DEACON
          GEORGE FELDER BRIGNAC
          1400 Haring Rd.
          Metairie, LA 70001




                                                                                 Page 6 of 6

E-Filed
  Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 8 of 19
ATTORNEY'S NAME:                 Green, Jeffrey P 30531
AND ADDRESS:                     3914 Canal Street , New Orleans, LA 70119

                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                              STATE OF LOUISIANA
              NO: 2021-01568                                           DIVISION: D                                           SECTION: 12
                                                                       DOE, M.D.

                                                                          Versus

                              ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                       CITATION
TO:                     THE ESTATE, TRUSTEE AND/OR REPRESENTATIVE FOR DEACON GEORGE FELDER
                        BRIGNAC
                        1400 HARING ROAD, METAIRIE, LA 70001

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
       Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 21121

Clerk's Office, Room 402, Civil Courts                                                 CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                      The Civil District Court
New Orleans, LA                                                                        for the Parish of Orleans
                                                                                       State of LA
                                                                                       by
                                                                                       Ellen Philbrick, Deputy Clerk

                                                                  SHERIFFS RETURN
                                                              (for use of process servers only)
                             PERSONAL SERVICE                                                                 DOMICILIARY SERVICE
On this             day of                                     saved a copy of   On this             day of                                        served a copy of
the within                                                                       the within
'talon for Damages                                                               Petition for Damages
ON THE ESTATE. TRUSTEE AND/OR REPRESENTATIVE FOR                                 ON 171E E-STATE, TRUSTEE AND/OR REPRESENTATIVE FOR
BEACON GEORGE FELDER BRIGNAC                                                     DEACON GEORGE FELDER BRIGNAC
THROUGH:                                                                         THROUGH:
                             Returned the same day                               by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                                                                                                         a person of suitable age and
                                              No.
                                                                                 ds, ---
                                                                                      retion residing therein as a member of the dornieTliary establishment, whose
Deputy Sheriff of                                                                mine and other facts connected with this service I learned by interrogating
                                                                                 Ell MUER the said THE ESTATE, "IR USTEE ANI)KH1 REPRESENTATIVE
Mileage: $
                                                                                 FOR DEACON GEORGE FELDER BRIGNAC being absent from the domicile
                                 ENTERED /                                       at time of said service.
                    PAPER                            RETURN                                                    Returned the same day
                        /                            /                                                                            No.
         SERIAL NO.                DEPUTY                     PARISH             Deputy Sheriff of




      ID: 10M2617                                                        Page 1 of 1
Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 9 of 19

ATTORNEY'S NAME:              Green, Jeffrey P 30531
AND ADDRESS:                  3914 Canal Street , New Orleans, LA 70119

                      CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                       STATE OF LOUISIANA
             NO: 2021-01568                                    DIVISION: D                                            SECTION: 12
                                                                 DOE, M.D.

                                                                    Versus

                           ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                 CITATION
TO:                   THE ESTATE, TRUSTEE AND/OR REPRESENTATIVE FOR DEACON GEORGE FELDER
                      BRIGNAC
                      1400 HARING ROAD, METAIRIE, LA 70001

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                          ADDITIONAL INFORMATION
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       Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
      ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                           CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                The Civil District Court
New Orleans, LA                                                                  for the Parish of Orle n
                                                                                 Statft       )
                                                                                 by             A" •
                                                                                 Ellen Philbrick, Deputy Clerk
                                                           SHERIFF'S RETURN
                                                       (for use of process servers only)
                          PERSONAL SERVICE                                                             DOMICILIARY SERVICE
On this            day of                              served a copy of   On this               day of                                        served a copy of
the within                                                                the within
Petition for Damages                                                      Petition for Damages
ON THE ESTATE, TRUSTEE AND/OR REPRESENTATIVE FOR                          ON THE ESTATE, TRUSTEE AND/OR REPRESENTATIVE FOR
DEACON GEORGE FELDER BRIGNAC                                              DEACON GEORGE FELDER BRIGNAC
THROUGH:                                                                  THROUGI I:
                          Returned the same day                           by leaving same at the dwelling house, or usual place of abode, in the hands of
                                            No.                                                                                   a past' of suitable age and
                                                                          discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                         natne and other facts connected with this service I learned by interrogating
                                                                          HIM/HER the said THE ESTATE, TRUSTEE AND/OR REPRESENTATIVE
Mileage: $                                                                FOR DEACON GEORGE FELDER BRIGNAC being absent from the domicile
                             / ENTERED /                                  at time of said service.
                  PAPER                         RETURN                                                    Returned the same day
                                                                                                                            No.
        SERIAL NO.             DEPUTY                 PARISH              Deputy Sheriff of




     ID: 10642617                                                 Page 1 of 1
 Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 10 of 19
ATTORNEY'S NAME:                  Green, Jeffrey P 30531
AND ADDRESS:                      3914 Canal Street , New Orleans, LA 70119

                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                               STATE OF LOUISIANA
              NO: 2021-01568                                            DIVISION: D                                            SECTION: 12
                                                                         DOE, M.D.

                                                                            Versus

                              ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                         CITATION
TO:                     CABRINI HIGH SCHOOL INC.
THROUGH:                ITS REGISTERED AGENT: JACK TRUXILLO
                        1400 MOSS ST., NEW ORLEANS, LA 70119

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages_
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                          ADDITIONAL INFORMATION
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       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE"' ''xT""
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court fur the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                    CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                         The Civil District Court
New Orleans, LA                                                                           for the Parish of Orleans
                                                                                          State of LA
                                                                                          by
                                                                                          Ellen Philbrick, Deputy Clerk

                                                                   SHERIFF'S RETURN
                                                               (for use of process servers only)
                             PERSONAL SERVICE                                                                   DOMICILIARY SERVICE
On this             day of                                      served a copy of   On this             day of                                         served a copy or
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Petition for Damages                                                               Petition for Damages
ON CARR INI HIGH SCHOOL, INC.                                                      ON CA BR INI HIGH SCHOOL, INC.
ITIROUG FL H'S REGISTERED AGENT: JACK TRUXILLO                                     THROUGH: ITS REGISTERED AGENT: JACK 'IR LIXILLO
                             Returned the same day.                                by leaving same at the dwelling house, or usual place of abode, in the hands of
                                               No.                                                                                        a person of suitable agr and
                                                                                   erscretion residing therein as a member fl1H domiciliary establishment, whose
Deputy Sheriff of                                                                  rnme and other facts connected with this service I learned by interrogating
Mileage: $                                                                         HIMMER the said CABRINI IIICIISC11001, INC. being absent from the
                                                                                   domicile at time of said service.
                                 ENTERED
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                    PAPER                             RETURN
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                                                                                   Deputy Sheriff of
         SERIAL NO.                DEPUTY                      PARISH




      ID: 10642616                                                         Page 1 oil
Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 11 of 19

ATTORNEY'S NAME:                   Green, Jeffrey I' 30531
AND ADDRESS:                       3914 Canal Street , New Orleans, LA 70119

                          CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                                 STATE OF LOUISIANA
              NO: 2021-01568                                              DIVISION: D                                           SECTION: 12
                                                                           DOE, M.D.

                                                                              Versus

                               ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                          CITATION
TO:                      CABRINI HIGH SCHOOL, INC. .
THROUGH:                 ITS REGISTERED AGENT: JACK TRUXILLO
                         1400 MOSS ST., NEW ORLEANS, LA 70119

YOU HAVE BEEN SUED:
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Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                           ADDITIONAL INFORMATION
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        Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                     CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                          The Civil District Court
New Orleans, LA                                                                            for the Pa i. h of Orlea
                                                                                           State
                                                                                           by
                                                                                           Ellen Philbrick, Deputy Clerk
                                                                    SHERIFF'S RETURN
                                                                (for use of process servers only)
                              PERSONAL SERVICE                                                                    DOMICILIARY SERVICE
On this              day of                                      served a copy of   On this              day of                                        served a copy of
the within                                                                          the within
Petition for Damages                                                                Petition for Damages
ON CABRINI HIGH SCHOOL, INC.                                                        ON CABRINI HIGH SCHOOL, INC.
THROUGH: ITS REGISTERED AGENT: JACK TRUXILLO                                        THROUGH: ITS REGISTERED AGENT: JACK                    TRuxii,Lo
                              Returned the sante day                                by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                 No.                                                                                       a person of suitable age and
                                                                                    discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                   name and other facts connected with this service I learned by interrogating
                                                                                    HIM/HER the said CABRINI HIGH SCHOOL, INC. being absent from the
Mileage: $
                                                                                    domicile at time of said service.
                                 / ENTERED /
                                                                                                                   Returned the same day
                    PAPER                              RETURN
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                                                                                    Deputy Sheriff of
         SERIAL NO.                 DEPUTY                      PARISI!




      ID: 10642616                                                          Page 1 of I
 Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 12 of 19
ATTORNEY'S NAME:                       Green, Jeffrey P 30531
AND ADDRESS:                           3914 Canal Street , New Orleans, LA 70119

                             CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                                    STATE OF LOUISIANA
               NO: 202 l -01568                                              DIVISION: D                                           SECTION: 12
                                                                              DOE, M.D.

                                                                                 Versus

                                   ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                    CITATION - LONG ARM
TO:                          THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
THROUGH:                     THE LOUISIANA LONG ARM STATUTE ITS AGENT FOR SERVICE OF PROCESS:
                             ARTEX RISK SOLUTIONS, INC.
                             140 KENNEDY DR., SUITE 101, SOUTH BURLINGTON, VT 05403

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within thirty (30)
days after the filing in the record of the affidavit of the individual attesting to the manner of delivery made through
the "Long Arm Statute" under penalty of default.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
       Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                        CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                             The Civil District Court
New Orleans, LA                                                                               for the Parish of Orleans
                                                                                              State of LA
                                                                                              by
                                                                                              Ellen Philbrick, Deputy Clerk

                                                                        SHERIFF'S RETURN
                                                                    (for use of process servers only)
                                  PERSONAL SERVICE                                                                DOMICILIARY SERVICE
On this              ___ day of                                      served a copy of   On this             day of f f f f f f                            served a copy of
the within                                                                              the within
Petition for Damages                                                                    Petition for Damages
ON TIIE. ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.                                     ON "n IE A RCHDRXXSE OF NEW ORLEANS INDEMNITY, INC.
THROUGH: THE LOUISIANA LONG ARM STATUTE ITS AGENT FCIR                                  THROUGH: THE LOUISIANA LONG ARM STATUTE rrs AGENT FOR
SERVICE OF PROCESS: ARTEX RISK SOLUTIONS, INC.                                          SERVICE OF PROCESS: ARTEX RISK SOLUTIONS, INC.
                                  Returned the same day.                                by leaving same at the dwelling house. or usual place of abode. in the hands of
                                                                                                                                              a person of suitable age and
                                                    No.
                                                                                        dscretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff' of                                                                      mme and other facts connected with this service I learned by interrogating
                                                                                        HIM/HER the said THE ARCHDIOCESE OF NEW ORLEANS
hileage: $
                                                                                        INDEMNITY, INC. being absent from the domicile at time of said service.
                                      ENTERED /
                                                                                                                      Returned the same day.
                      PAPER                                RETURN
                                                                                                                                         No.
                                                                                        Deputy Sheriff of
         SERIAL NO.                     DEPUTY                      PARISH




      ID: 10M2615                                                               Page 1 of 1
Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 13 of 19

 ATTORNEY'S NAME:                 Green, Jeffrey 1' 30531
 AND ADDRESS:                     3914 Canal Street , New Orleans, LA 70119

                          CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                             STATE OF LOUISIANA
               NO: 2021-01568                                         DIVISION: D                                            SECTION: 12
                                                                        DOE, M.D.

                                                                           Versus

                               ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                             CITATION - LONG ARM
 TO:                      THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
 THROUGH:                THE LOUISIANA LONG ARM STATUTE ITS AGENT FOR SERVICE OF PROCESS:
                         ARTEX RISK SOLUTIONS, INC.
                         140 KENNEDY DR., SUITE 101, SOUTH BURLINGTON, VT 05403

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
 Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within thirty (30)
days after the filing in the record of the affidavit of the individual attesting to the manner of delivery made through
the "Long Arm Statute" under penalty of default.
                                           ADDITIONAL INFORMATION
        Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
        Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
        Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                  CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                       The Civil District Court
New Orleans, LA                                                                         for the Parish of Orleans
                                                                                        State
                                                                                        by
                                                                                        Ellen Philbrick, Deputy Clerk

                                                                 SHERIFF'S RETURN
                                                             (for use of process servers only)
                              PERSONAL SERVICE                                                                 DOMICILIARY SERVICE
On this              day of                                   served a copy of   On this              day of                                        served a copy of
the within     ,                                                                 the within
Petition for Damages                                                             Petition for Damages
ON THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY. INC.                                ON TILE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
THROUGH: '11W LOUISIANA LONG ARM STATUTE ITS AGENT FOR                           THROUGH: THE LOUISIANA LONG ARM STATUTE ITS AGENT FOR
SERVICE OF PROCESS: ARTEX RISK SOLUTIONS, INC.                                   SERVICE OF PROCESS: ARTEX RISK SOLUTIONS, INC.
                     Returned the same day                                       by leaving same at the dwelling house, or usual place of abode, in the hands of
                                              No.                                                                                       a person of suitable age and
                                                                                 discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                name and other facts connected with this service I learned by interrogating
                                                                                 HIM/HER the said Tim ARCHDIOCESE OF NEW ORLEANS
Mileage: $
                                                                                 INDEMNITY, INC. being absent from the domicile at time of said service.
                                / ENTERED /
                                                                                                                Returned the saute day
                    PAPER                           RETURN
                                                                                                                                  No.
                                                                                 Deputy Sheriff of
         SERIAL NO.               DEPUTY                     PARISH




      ID: 10642615                                                       Page 1 of 1
 Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 14 of 19
ATTORNEY'S NAME:                 Green, Jeffrey P 30531
AND ADDRESS:                     3914 Canal Street , New Orleans, LA 70119

                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                              STATE OF LOUISIANA
              NO: 2021-01568                                           DIVISION: D                                           SECTION: 12
                                                                        DOE, M.D.

                                                                           Versus

                              ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                        CITATION
TO:                     THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
THROUGH:                ITS AGENT FOR SERVICE OF PROCESS: LOUISIANA SECRETARY OF STATE
                        8585 ARCHIVES AVE., BATON ROUGE, LA 70809

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages_
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof           under    penalty of default.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
        Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.

       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE"' ''xT""
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                  CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                       The Civil District Court
New Orleans, LA                                                                         for the Parish of Orleans
                                                                                        State of LA
                                                                                        by
                                                                                        Ellen Philbrick, Deputy Clerk

                                                                  SHERIFF'S RETURN
                                                              (for use of process servers only)
                             PERSONAL SERVICE                                                                  DOMICILIARY SERVICE
On this             day of                                     served a copy of   On this             day of                                        served a copy or
the within                                                                        the within
Petition for Damages                                                              Petition for Damages
ON TUE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.                                 ON 11W ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
'THROUGH: US AGENT FOR SERVICE OF PROCESS: LOUISIANA                              THROUGH: ITS AGENT FOR SERVICE OF PROCESS: LOUISIANA
SECRETARY OF STATE                                                                SECRETARY OF S'P'ATE
                             Returned the same day                                by leaving same at the dwelling house. or usual place of abode, in the hands of
                                                                                                                                        a person of suitable age and
                                              No.                                 aieFiti-c—
                                                                                           a residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                 mine and other facts connected with this service I Earned      interrogating
                                                                                  I4IMMER the said MP:ARCHDIOCESE. OF NEW ORLEANS
Mlcage: $                                                                         INDEMNITY, INC. being absent from the domicile at time of said service.
                               f ENTERED !                                                                      Returned the same day
                    PAPER                            RETURN                                                                        No.
                                                                                  Deputy Sheriff of
         SERIAL NO.                DEPUTY                     PARISH




      ID: 10M2614                                                         Page 1 of 1
Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 15 of 19
•ATTORNEY' NAME.:                  Green, Jefitcy P 30531
AND ADDRESS:.                      3914 Cann! Street ,,New Orleans, 14 .'70119

                          CIVIL:DISTRICT COURT FOR THE PARISH OF 'ORLEANS
                                                                 STAMM' LOUISIANA
                NO 2021-01568                                             DIVISION: D                                              SECTION: 12
                                                                           DOE, M.D.
                                                                              Versus
                               ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                          CITATION
TO:                       THE ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
'THROUGH:                 ITS AGENT FOR. SERVICE OF PROCESS: LOUISIANA SECRETARY OF STATE
                          8585 ARCHIVES AVE., BATON ROUGE, LA 70809

YOU HAVE BEEN SUED:
You must either comply with the demand contained* in the
Petition for Damages:
 a eerti1ied cOpiy of WhiciiiticOnitianieS this citation, cir :file an answer or O'ther kial .pleadingin theOffiet.of the

Clerk of tliis.Cbart, ROOM 402, Civil Courts Building, 421 Loyola AVenne, New. Orleans, LA., Within fifteen (15).
daysafter' the service hereOf under perialiyof default.
                                             ADDITIONAL INFORMATION
          Legal. asSistancels adVisable. If you warit a iti*yer and can't. find one,. you may call the.New Orleans.
          Lawyer:Referral Service at 504-,561.-;8828. This.Referral Service.operates in conjunction with the. New
          Orleans Bar ASsodiation. If yOu qualify, yitc. may he :entitled to free legal:asSistance.through.Southeast
          LonisianalLegal•Sersiices (SLLS) at. 877-5214)242 or 504:752971000.
        • ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE*****"* •
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021
Clerk's Office, Rnom 402, Civil Courts                                                     CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                          The Civil District Court
New Orleans, LA                                                                            for the IL -la of Orleans
                                                                                           State
                                                                                           by
                                                                                           Ellen Philbrick, Deputy Clerk
                                                                      SHERIFF'S RETURN
                                                                 .(for use o fiarpeeSs serversanly)
                              PERSONAL SERVICE                                                                     bomictilARY SERVICE
•011 thiS •         'day of                                       nerved a copyof    Oti this •            • daY                                         • sdiVeda .copyof..
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ON THE AtteliD*ESE OVNEW OltikANK INDEMNITY; INC. .                                 ON 'HIP: ARC:fib ioil*EOVIN1.:AV Olt LEA i,s:INDEniNrni; INC.
.TDROOGO:         AG.ENT FOR SERIiICE.OV P                      LOUISIANA           11112OLICili:  AGE.NT FOR SEA                  E.OrPRO(             Lf./IiiSIANA
'SECRETARY      OF' STA TE .                                                        NVX:RE:FARY 1)1,‘STATE
                              Returned ilri sanw day                                by•Icaving sa nx at the clwellittibott.w,or usual place of•abode,in thc•hands of
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Deputy Sheriff of                                                                   nitre.: and other fisets•connectectwith this servloe I learned by interrogating
                                                                                    Lit ht/IIE It the Said TIIE A ItC IIIDOC:ESE ()F NEW ORLEANS. .
ttitileaget.$                                                                       IND ENINITY, INe. being absent front the•domieilcat time of Said service.
                                t ENTERED I                                                                         Returned the same day .
                    PAPER'                             RETURN.                                                                          No.
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           SERIAL NO.               DEPUTY                      PARISI!




       ID: 10642614                                                         Page 1 of 1
 Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 16 of 19
ATTORNEY'S NAME:                 Green, Jeffrey P 30531
AND ADDRESS:                     3914 Canal Street , New Orleans, LA 70119

                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                              STATE OF LOUISIANA
              NO: 2021-01568                                           DIVISION: D                                            SECTION: 12
                                                                        DOE, M.D.

                                                                           Versus

                              ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                        CITATION
TO:                     THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA
THROUGH.                ITS AGENT FOR SERVICE OF PROCESS: CORPORATION SERVICE COMPANY
                        501 LOUISIANA AVENUE, BATON ROUGE, LA 70802

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages_
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
        Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE"'''xT"*
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                   CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                        The Civil District Court
New Orleans, LA                                                                          for the Parish of Orleans
                                                                                         State of LA
                                                                                         by
                                                                                         Ellen Philbrick, Deputy Clerk

                                                                  SHERIFF'S RETURN
                                                              (for use of process servers only)
                             PERSONAL SERVICE                                                                   DOMICILIARY SERVICE
On this             day of                                     served a copy of   On this              day of                                        served a copy or
the within                                                                        the within
Petition for Damages                                                              Petition for Damages
ON TI1E. CATHOLIC: MUTUAL RELIEF SOCIETY OF AMERICA                               ON           CATHOLIC: MUTUAL RELIEF SOCIETY OF AMERICA
'THROUGH: ns AGENT FOR SERVICE OF PROCESS: CORPORATION                            THROUGH: ITS AGENT FOR SERVICE OF PROCESS: CORPORATION
SERVICE COM PA N Y                                                                SERVICE COM PA N Y
                             Returned the same day                                by leaving same at the dwelling house. or usual place of abode, in the hands of
                                                                                                                                         a person of suitable age and
                                              No.                                 aiWiti-c—
                                                                                          n residing thejein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                 mine and other facts connected with this service I learned by interrogating
                                                                                  MAILER the said THE CATHOLIC MUTUAL RELIEF SOCIETY OF
Mleage: $                                                                         AMERICA being absent from the domicile at time of said service.
                               f ENTERED !                                                                       Returned the same day
                    PAPER                            RETURN                                                                        No.
                                                                                  Deputy Sheriff of
         SERIAL NO.                DEPUTY                     PARISH




      ID: 10M2613                                                         Page 1 of 1
Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 17 of 19

 ATTORNEY'S NAME:                 Green, Jeffrey P 30531
 AND ADDRESS:                     3914 Canal Street , New Orleans, LA 70119

                          CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                             STATE OF LOUISIANA
               NO: 2021-01568                                         DIVISION: D                                            SECTION: 12
                                                                        DOE, M.D.
                                                                           Versus

                               ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                       CITATION
TO:                      THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA
THROUGH:                 ITS AGENT FOR SERVICE OF PROCESS: CORPORATION SERVICE COMPANY
                         501 LOUISIANA AVENUE, BATON ROUGE, LA 70802

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                           ADDITIONAL INFORMATION
        Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
       Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                  CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                       The Civil District Court
New Orleans, LA                                                                         for the Parish of Orle ns
                                                                                        Slat
                                                                                        by
                                                                                        Ellen Philbrick, Deputy Clerk

                                                                 SHERIFF'S RETURN
                                                             (for use of process servers only)
                              PERSONAL SERVICE                                                                 DOMICILIARY SERVICE
On this              day of                                   served a copy of   On this              day of                                       served a copy of
the within                                                                       the within
Petition for Damages                                                             Petition for Damages
ON TIIE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA                                ON THE CATHOLIC MUTUAL RELIEF SOCIETY OF AMERICA
THROUGH: ITS AGENT FOR SERVICE OF PROCESS: CORPORATION                           THROUGH: ITS AGENT FOR SERVICE OF PROCESS: CORPORATION
SERVICE COMPANY                                                                  SERVICE COMPANY
                    Returned the same day                                        by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                                                                                                        a person of suitable age and
                                              No.
                                                                                 discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                name and other facts connected with this service I learned by interrogating
                                                                                 HIM/HER the said THE CATHOLIC MUTUAL RELIEF SOCIETY OF
Mileage: S
                                                                                 AMERICA being absent front the domicile at time of said service.
                                / ENTERED /
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                    PAPER                           RETURN
                                                                                                                                  No.
                         /                      /
                                                                                 Deputy Sheriff of
         SERIAL NO.               DEPUTY                     PARISH




     1D: 10642613                                                        Page 1 of 1
 Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 18 of 19
ATTORNEY'S NAME:                   Green, Jeffrey P 30531
AND ADDRESS:                       3914 Canal Street , New Or!cans, LA 70119

                         CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                               STATE OF LOUISIANA
              NO: 2021-01568                                            DIVISION: D                                            SECTION: 12
                                                                         DOE, M.D.

                                                                            Versus

                               ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                        CITATION
TO:                      THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS
THROUGH:                 ITS REGISTERED AGENT: JEFFREY J. ENTWISLE
                         7887 WALMSLEY AVE., NEW ORLEANS, LA 70125

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages_
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
        Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE"'''"''''k
LN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021

Clerk's Office, Room 402, Civil Courts                                                    CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                         The Civil District Court
New Orleans, LA                                                                           for the Parish of Orleans
                                                                                          State of LA
                                                                                          by
                                                                                          Ellen Philbrick, Deputy Clerk

                                                                   SHERIFF'S RETURN
                                                               (for use of process servers only)
                              PERSONAL SERVICE                                                                  DOMICILIARY SERVICE
On this              day of                                     served a copy of   On this             day of                                         served a copy or
the within                                                                         the within
'Petit ion for Damages                                                             Petition for Damages
ON l'IlE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF                               ON THE ROMAN CATHOLIC CHURCH OF 'HE ARCHDIOCESE OF
NEW ORLEANS                                                                        NEW ORLEANS
THROUGH:      rrs REGISTERED AGENT:          JEFFREY J. ENTWISLE                   THROUGH: ITS REGISTERED AGENT: JEFFREY J. ENTWISLE
                              Returned the same day                                by leaving same at the dwelling house. or usual place of abode. in the hands of
                                                                                                                                          a person of suitable age and
                                               No.                                  —c-FetWin residing themin as a member of the domiciliary establishment, whose
                                                                                   as
Deputy Sheriff of                                                                  mine and other facts coimected with this service I learned by interrogating
                                                                                     IN/HER the said THE ROMAN CATHOLIC CHURCH OF THE
hileage: $                                                                         ARCHDIOCESE OE NEW ORLEANS being absent from the domicile at time
                                f ENTERED !                                          said service.
                    PAPER                             RETURN                                                     Returned the same day
                                                                                                                                    No.
         SERIAL NO.                DEPUTY                      PARISH              Deputy Sheriff of




      ID: 10M2612                                                          Page 1 of 1
Case 2:21-cv-00477-GGG-JVM Document 1-1 Filed 03/08/21 Page 19 of 19

ATTORNEY'S NAME:                  Green, Jeffrey P 30531
AND ADDRESS:                      3914 Canal Street , New Orleans, LA 70119

                         CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                             STATE OF LOUISIANA
              NO: 2021-01568                                          DIVISION: D                                            SECTION: 12
                                                                       DOE, M.D.
                                                                          Versus
                               ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

                                                                       CITATION
TO:                      THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS
THROUGH:                 ITS REGISTERED AGENT: JEFFREY J. ENTWISLE
                         7887 WALMSLEY AVE., NEW ORLEANS, LA 70125

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
       Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
       Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
        Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA February 25, 2021
Clerk's Office, Room 402, Civil Courts                                                  CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                                       The Civil District Court
New Orleans, LA                                                                         for the rish of 0 le ns
                                                                                        Stat
                                                                                        by
                                                                                        Ellen Philbrick, eputy Clerk
                                                                 SHERIFF'S RETURN
                                                             (for use of process servers only)
                              PERSONAL SERVICE                                                              DOMICILIARY SERVICE
On this              day of                                   served a copy of   On this              day of                                        served a copy of
the within                                                                       the within
Petition for Damages                                                             Petition for Damages
ON THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF                               ON THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF
NEW ORLEANS                                                                      NEW ORLEANS
THROUGII: ITS REGISTERED AGENT: JEFFREY J. ENTWISLE                              THROUGH: ITS REGISTERED AGENT: JEFFREY J. ENTWISLE
                     Returned the same day                                       by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                                                                                                        a person of suitable age and
                                              No.
                                                                                 discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                                name and other facts connected with this service I learned by interrogating
                                                                                 HIM/HER the said THE ROMAN CATHOLIC CHURCH OF THE
Mileage: $                                                                       ARCHDIOCESE OF NEW ORLEANS being absent from the domicile at time
                                / ENTERED /                                      of said service.
                    PAPER                           RETURN                                                       Returned the same day
                                                                                                                                  No.
         SERIAL NO.               DEPUTY                     PARISH              Deputy Sheriff of




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